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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

MIKE TOYUKUK; FRED AUGUSTINE;
NATIVE VILLAGE OF HOOPER BAY; and
TRADITIONAL VILLAGE OF TOGIAK, Case No.

Plaintiffs,
v. COMPLAINT

MEAD TREADWELL, Lieutenant Governor of
the State of Alaska; GAIL FENUMIAI, Director
of Elections for the State of Alaska; MICHELLE
SPEEGLE, Election Supervisor of the Fairbanks
Regional Elections Office II; and BECKA
BAKER, Election Supervisor of the Nome
Regional Elections Office IV,

Defendants.

 

 

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INTRODUCTION

I. This is an action to enforce the statutory guarantee of language assistance for
limited-English proficient (LEP) Alaska Native United States (U.S.) citizens under Section 203 of the
Voting Rights Act (VRA), 42 U.S.C. § 1973aa-la (Section 203) and the voting guarantees of the
Fourteenth and Fifteenth Amendments of the United States Constitution, to obtain injunctive and
declaratory relief pursuant to Section 3 of the VRA, 42 U.S.C. § 1973a, and 28 U.S.C. § 2201.
Section 203 is referred to herein as the “Bilingual Election Requirements.”

Zi Plaintiffs are seeking the same form of language assistance that the Defendants
agreed to provide to limited-English proficient Yup’ ik-speaking voters and other voters in the 2010
settlement agreement in the Bethel Census Area of Alaska in the case captioned Anna Nick, et al. v.
Bethel, et al., Case No. 3:07-cv-00098-TMB. The language assistance procedures that the
Defendants agreed to provide in the Nick litigation to resolve their violations of Section 203 of the
VRA are not provided to all villages in the Dillingham and Wade Hampton Census Areas of

Alaska, which are immediately adjacent to the Bethel Census Area.

5, Plaintiffs for their Complaint against Defendants allege as follows:
TION AND VENUE
4. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 &

1343(a)(3)-(4), and 42 U.S.C. § 1973j(f).
De Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part

of the events giving rise to the claims occurred in this district and Defendants reside in this district.

PARTIES
6. Plaintiff Mike Toyukuk is a Yup’ik-speaking U.S. citizen of voting-age (over 18

years of age). Plaintiff Toyukuk is a registered voter who resides in Manokotak, which is within

the Dillingham Census Area of Alaska. His first and primary language is Yup’ik. He completed the
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eighth grade in primary school. He is unable to understand fully the English voting materials and
oral instructions in English and accordingly is LEP. Because of his limited-English proficiency, and
because Defendants fail to comply with the Bilingual Election Requirements of the VRA, Plaintiff
Toyukuk is unable to participate meaningfully in the electoral process.

hs Plaintiff Fred Augustine is a Yup’ik-speaking U.S. citizen of voting-age (over 18
years of age). Plaintiff Augustine is a registered voter who resides in Alakanuk, which is within the
Wade Hampton Census Area of Alaska. His first and primary language is Yup’ik. He is illiterate as
defined by the U.S. Census Bureau because he did not complete the fifth grade in primary school. He
has not completed any grade level of schooling. He is unable to understand fully the English voting
materials and oral instructions in English and accordingly is LEP. Because of his limited-English
proficiency, and because Defendants fail to comply with the Bilingual Election Requirements of the

VRA, Plaintiff Augustine is unable to participate meaningfully in the electoral process.

8, Plaintiff Native Village of Hooper Bay is a tribal council located in Hooper Bay,
Alaska, an Alaska Native village that is within the Wade Hampton Census Area. Plaintiff Native
Village of Hooper Bay is the elected government for the village of Hooper Bay and as such, has the
purpose of promoting the cultural, economic, political, and social welfare of village residents.
Members of Plaintiff Native Village of Hooper Bay are enrolled members of the federally
recognized tribe of the Native Village of Hooper Bay and are Alaska Native voting-age U.S.
citizens who are registered to vote or are eligible to register to vote in federal and state elections.
Chevak Cup’ik, also known as the Hooper Bay-Chevak Cup’ik language (Cup’ik), which is a
dialect of Yup’ik, is the primary language for members of the Native Village of Hooper Bay, which
conducts its internal business in Cup’ik. Some enrolled members of the Native Village of Hooper
Bay are LEP Cup’ik speaking voting-age U.S. citizens and illiterate as defined by the U.S. Census

Bureau because they have not completed the fifth primary grade, as identified in the most recent
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Section 203 coverage determinations. Because of their limited-English proficiency and/or
illiteracy, and because the Defendants fail to comply with the Bilingual Elections Requirements
and other provisions of the VRA, enrolled members of the Native Village of Hooper Bay are
unable to participate meaningfully in the electoral process. Plaintiff Native Village of Hooper Bay
sues in a representational capacity on behalf of the affected tribal members it represents. Neither
the claims asserted nor the relief requested by Plaintiff Native Village of Hooper Bay requires the

participation of individual members of the Native Village of Hooper Bay in this litigation.

9. Plaintiff Traditional Village of Togiak is a tribal council located in Togiak, Alaska,
an Alaska Native village that is within the Dillingham Census Area. Plaintiff Traditional Village
of Togiak is the elected government for Togiak and as such, has the purpose of promoting the
cultural, economic, political, and social welfare of village residents. Members of Plaintiff
Traditional Village of Togiak are enrolled members of the federally recognized tribe of the
Traditional Village of Togiak and are Alaska Native voting-age U.S. citizens who are registered to
vote or are eligible to register to vote in federal and state elections. Yup’ ik is the primary language
for members of the Traditional Village of Togiak, which conducts its internal business in Yup’ ik.
Some enrolled members of the Traditional Village of Togiak are LEP Yup’ik speaking voting-age
U.S. citizens and illiterate as defined by the U.S. Census Bureau because they have not completed
the fifth primary grade, as identified in the most recent Section 203 coverage determinations.
Because of their limited-English proficiency and/or illiteracy, and because the Defendants fail to
comply with the Bilingual Elections Requirements and other provisions of the VRA, enrolled
members of the Traditional Village of Togiak are unable to participate meaningfully in the
electoral process. Plaintiff Traditional Village of Togiak sues in a representational capacity on
behalf of the affected tribal members it represents. Neither the claims asserted nor the relief

requested by Plaintiff Traditional Village of Togiak requires the participation of individual
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members of the Traditional Village of Togiak in this litigation.
10. Defendant Mead Treadwell is the Lieutenant Governor of Alaska and is
responsible for the control and supervision of the Division of Elections in the State of Alaska

including the appointment of the Director of Elections. ALASKA STAT. § 15.10.105.

Lhe Defendant Gail Fenumiai is the Director of Elections for the State of Alaska.
Defendant Fenumiai is responsible for the supervision of regional election offices, all matters
related to the employment and training of election personnel, and the administration of all state
elections, as well those municipal elections that the state is required to conduct. ALASKA STAT.
§ 15.10.1085.

12. Defendant Michelle Speegle is the Election Supervisor of the Fairbanks Regional
Elections Office III. Defendant Speegle is responsible for assisting the administration of elections
in voting precincts in the Wade Hampton Census Area. ALASKA STAT. § 15.10.110.

13, Defendant Becka Baker is the Election Supervisor of the Nome Regional Elections
Office IV. Defendant Baker is responsible for assisting the administration of elections in voting
precincts in the Dillingham Census Area. ALASKA STAT. § 15.10.110.

14. Defendants Treadwell, Fenumiai, Speegle, and Baker are collectively referred to as

the “Defendants.” The Defendants are sued in their official capacities only.

E ELEVA LCLAIM

A. Coverage of the Dillingham and Wade Hampton Census Areas by the
Bilingual Election Requirements.

15. The Dillingham and Wade Hampton Census Areas have been continuously
covered by Section 203 since October 22, 1975. 40 Fed. Reg. 49,422 (Oct. 22, 1975); 28 C.F.R. §

51, App.

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16. The Bureau of the Census issued its most recent Notice of Determination for
Section 203 coverage on October 13, 2011. Dep’t of Commerce, Bureau of the Census, Voting
Rights Act Amendments of 2006, Determinations Under Section 203 (2011 Coverage
Determinations), 76 Fed. Reg. 63,602 (Oct. 13, 2011) (to be codified at 28 C.F.R. pt. 55).

17. According to the Section 203 data files released by the Bureau of the Census
supporting the 2011 Coverage Determinations, the Dillingham Census Area of Alaska has a total
population of 4,845 persons, of whom approximately two-thirds (3,280) speak the Yup’ik
language. U.S. CENSUS BUREAU, REDISTRICTING DATA, VOTING RIGHTS DETERMINATION FILE
(2011 Coverage Data Files), available at http://www .census. gov/rdo/data/
voting rights determination _file.html.

18, According to the 2011 Coverage Data Files, the Dillingham Census Area of Alaska
has a citizen voting-age population of 3,225 persons. Jd.

19. According to the 2011 Coverage Data Files, the Dillingham Census Area of Alaska
has 2,050 citizens of voting-age who speak Yup’ik. Among those Yup’ik-speaking voting-age
citizens, approximately 18.3 percent are limited-English proficient voters (LEP Yup’ik-Speaking
Voters). Id.

20; According to the 2011 Coverage Data Files and supporting data files available
through the Bureau of the Census, the illiteracy rate among all voting-age citizens nationwide is
1.16 percent (National Illiteracy Rate). Jd.

21. According to the 2011 Coverage Data Files, the illiteracy rate among LEP Yup’ ik-
Speaking Voters in the Dillingham Census Area is 32 percent, which is over 27 times higher than

the National Illiteracy Rate. Jd.

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22. According to the 2011 Coverage Determinations, the Bureau of the Census listed
Alaska Native (Yup’ik) as a covered minority language group in the Dillingham Census Area of
Alaska. 76 Fed. Reg. 63,602.

25) According to the 2011 Coverage Data Files, the Wade Hampton Census Area of
Alaska has a total population of 7,460 persons, of whom approximately 73.4 percent (5,475
persons) speak the Yup’ik language and approximately 11.3 percent (840 persons) speak the
Inupiat language. 2011 Coverage Data Files.

24. According to the 2011 Coverage Data Files, the Wade Hampton Census Area of
Alaska has a citizen voting-age population of 4,335 persons. Jd.

25; According to the 2011 Coverage Data Files, the Wade Hampton Census Area of
Alaska has 3,195 citizens of voting-age who speak Yup’ik. Among those Yup’ik-speaking voting-
age citizens, approximately 16.1 percent are LEP Yup’ik-Speaking Voters. /d.

26. According to the 2011 Coverage Data Files, the illiteracy rate among LEP Yup’ik-
Speaking Voters in the Wade Hampton Census Area is approximately 21.4 percent, which is over
18 times higher than the National Illiteracy Rate. Jd.

27. According to the 2011 Coverage Determinations, the Bureau of the Census listed
Alaska Native (Yup’ik) as a covered minority language group in the Wade Hampton Census Area
of Alaska. 76 Fed. Reg. 63,603.

28. The Dillingham and Wade Hampton Census Areas have not bailed out from
coverage under Section 203 pursuant to Section 203(d) of the VRA and continue to be required to

provide language assistance in the covered languages and dialects.

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B. Alaska’s Unequal Educational Opportunities in the Dillingham and Wade
Hampton Census Areas Have Contributed to High LEP and Illiteracy Rates.

29, Alaska Native voting-age U.S. citizens who are registered to vote or are eligible to
register to vote in federal and state elections have been denied equal educational opportunities by
the State of Alaska, “resulting in severe disabilities and continuing illiteracy in the English
language.” 42 U.S.C. § 1973b(f)(1).

30. Alaska had a longstanding history of segregated schooling and offering only non-
Native children “public secondary schools in their own communities.” S. REP. No. 94-295, at 29-
30, reprinted in 1975 U.S.C.C.A.N. at 795-96 (citing Hootch v. State Operated Sch. Sys., case no.
72-2450-CIV (Alaska Super. Ct. 1973)); see also Settlement Agreement {J 9-30, Tobeluk v. Lind,
case no. 72-2450 (Alaska Super. Ct. Sept. 3, 1976).

31. Native villages in the Dillingham and Wade Hampton Census Areas, including
Alakanuk, Hooper Bay, Manokotak, and Togiak, were among the 126 Native communities that

were part of the class in Hootch v. State Operated School System and Tobeluk v, Lind.

Bs The State of Alaska did not construct secondary schools in any of the 126 Native
communities that were part of the class in Hootch v. State Operated School System and Tobeluk v.
Lind until after the State entered into a consent decree in Tobeluk v. Lind. Those secondary schools
were not completed until the mid- to late-1980s.

33. In 1999, the State of Alaska was found liable for providing unequal educational
opportunities to Native students statewide, including Native students in the Dillingham and Wade
Hampton Census Areas, because of “discrepancies in funding made available to Native and non-
Native students.” Order Granting Pls.’ Mots. for Partial Summ. J. on Facilities Funding, Kasayulie

v. State, case no. 3AN-97-3782-CIV (Alaska Super. Ct. Sept. 1, 1999).

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34, In 2005, 45 percent of Native students graduated from high school, compared to 72
percent of non-Native white students in Alaska. Only 19.5 percent of all Native seniors statewide

were proficient in reading comprehension.

33, In 2007, the State of Alaska was found to have violated its “constitutional
responsibility to maintain a public school system,” including to Native students in the Dillingham
and Wade Hampton Census Areas, by failing to oversee the quality of secondary education in
Native villages and to provide a “meaningful opportunity to learn the material” necessary to

graduate. Moore v. State, case no. 3AN-04-9756-CIV (Alaska Super. Ct. June 21, 2007).

36. In 2010, the State of Alaska failed to establish that its remedial efforts in Moore
would “result in compliance with this constitutional responsibility.” Order on Review of 2009

Submissions, Moore v. State, case no. 3AN-04-9756-CIV (Alaska Super. Ct. Mar. 1, 2010).

37. In 2012, the State of Alaska settled the Moore litigation, which included remedies
that are to be implemented for Native communities in the Dillingham and Wade Hampton Census
Areas. Settlement Agreement, Moore v. State. Case no. 3AN-04-9756-CIV (Alaska Super. Ct. Jan.
2012).

C. Defendants Have Failed to Comply with the Bilingual Election Requirements
for the Covered Yup’ik Language and Cup’ik Dialect.

38. Because the Dillingham and Wade Hampton Census Areas of Alaska are subject to
the requirements of Section 203, “any voter registration or voting notices, forms, instructions,
assistance, or other materials or information relating to the electoral process, including ballots” that
Defendants provide in English also must be furnished in the covered Yup’ik language to voters who
speak each respective language, so that those voters can be effectively informed of and participate

fully in all voting-connected activities. 42 U.S.C. § 1973aa-la.

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58. Because the Dillingham and Wade Hampton Census Areas of Alaska are subject to
the requirements of Section 203, Defendants’ obligations include the requirement “to ascertain the
dialects that are commonly used by members of the applicable language minority group in the
jurisdiction and to provide oral assistance in such dialects.” 28 C.F.R. § 55.13; see 28 C.F.R. §§
55.11, 55.20. Defendants therefore are required to provide language assistance in all dialects of the
covered Yup’ik language, including the Cup’ik dialect.

40. In conducting elections in the Dillingham and Wade Hampton Census Areas of
Alaska, Defendants have failed to furnish in the covered Yup’ik language, including the Cup’ik
dialect, the information, assistance, and voting materials needed by LEP Yup’ik-Speaking Voters and
those speaking the Cup’ik dialect to participate effectively in the electoral process, including, but not
limited to, the following:

a) Defendants have failed to provide complete, accurate, and uniform oral
language translations of all written voting materials into the covered Yup’ik language
and the Cup’ik dialect, including, but not limited to: publicity and advertisements for
voter registration; voter purges; notices to place voters on the inactive voter list as a prelude
to purging them as provided by the National Voter Registration Act and Alaska state law;
election dates; polling place locations and assignments; voting machine instructions;
the official ballot for federal, state, and local elections, including the names of
candidates, offices, the number of votes to cast for each office, and ballot
propositions or questions; the annual register form used to gather information for
voter lists; signage at the polls; absentee voting opportunities, information, and
materials; permanent absentee voting information and materials; the right to receive
assistance from the person of their choice; voter information posted on the Internet;

early voting materials; and voter information guides and sample ballots required by
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state law.

b) Defendants have failed to provide effective oral language assistance for
voting materials and other election information in the covered Yup’ik language and
the Cup’ik dialect, including oral language assistance for the written voting materials
described in the preceding paragraph.

c) Defendants have failed to recruit, appoint, train, and maintain an adequate
pool of bilingual poll officials on a consistent basis to provide covered LEP Yup’ ik-
Speaking Voters, including those speaking the Cup’ik dialect, with effective
language assistance.

d) Defendants have failed to engage in community outreach activities in each
village to provide covered LEP Yup’ik-Speaking Voters and those speaking the
Cup’ ik dialect with effective language assistance.

e) Defendants have failed to provide radio announcements that reach each
village to provide covered LEP Yup’ik-Speaking Voters and those speaking the
Cup’ ik dialect with effective language assistance.

f) Defendants have failed to train adequately the existing pool of election
officials and poll officials concerning language assistance requirements in the
covered Yup’ik language, including the Cup’ik dialect.

g) Defendants have failed to inform LEP Yup’ik-Speaking Voters and those
speaking the Cup’ik dialect in their native language about the availability of
language assistance, including telephonic assistance for pre- and post-election
inquiries and assistance in the polling place on the day of the election.

h) Defendants have failed to inform LEP Yup’ik-Speaking Voters and those

speaking the Cup’ik dialect in their native languages of their right to select their
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assistor of choice, other than the voter’s employer or agent or agent of that employer
or officer or agent of the voter’s union, and to receive assistance from their chosen
assistor at all stages of the voting process, including inside the voting booth.

D. Defendants’ Violations Have Resulted in Severely Depressed Native Turnout.

Al. Defendants’ violations of the voting guarantees of the Fourteenth and Fifteenth
Amendments to the United States Constitution and under the VRA have resulted in turnout rates
among Native U.S. citizens of voting-age that lag far behind the statewide turnout rates of non-
Hispanic white U.S. citizens of voting-age.

42. According to the U.S. Census Bureau, approximately 63.9 percent of all non-
Hispanic white U.S. citizens of voting-age in Alaska voted in the November 2012 Presidential
Election. U.S. CENSUS BUREAU, VOTING AND REGISTRATION, VOTING AND REGISTRATION IN THE
ELECTION OF NOVEMBER 2012—DETAILED TABLES, TABLE 4B, REPORTED VOTING AND
REGISTRATION BY SEX, RACE AND HISPANIC ORIGIN, FOR STATES: NOVEMBER 2012, available at
http://www.census.gov/hhes/www/socdemo/voting/publications/p20/2012/tables.html.

43, According to the Alaska Division of Elections, approximately 59.6 percent of all
registered voters voted in the November 2012 Presidential Election. STATE OF ALASKA, DIVISION
OF ELECTIONS, NOVEMBER 6, 2012 OFFICIAL GENERAL ELECTION RESULTS, OFFICIAL RESULTS,
STATEWIDE SUMMARY, available at _ http://www.elections.alaska.gov/results/12GENR/
data/results.pdf.

44, According to the Alaska Division of Elections, 141 out of 296 registered voters in
Alakanuk voted in the November 2012 Presidential Election, or approximately 47.6 percent of the
registered voters there. That turnout rate is 12 percent below the statewide turnout rate for that

election. STATE OF ALASKA, DIVISION OF ELECTIONS, NOVEMBER 6, 2012 OFFICIAL GENERAL

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48.

ELECTION RESULTS, House District 38 (House District 38 Results), available at
http://www.elections.alaska.gov/results/12GENR/data/sove/hd38.pdf.

45. According to the 2011 Coverage Data Files, there are 365 U.S. citizens of voting-
age who reside in the village of Alakanuk. Applying that data, 38.6 percent of all U.S. citizens of
voting-age residing in Alakanuk (141 out of 365) voted in the November 2012 Presidential
Election, which is 25.3 percent lower than the statewide turnout rate among non-Hispanic white
U.S. citizens of voting-age in that election. House District 38 Results.

46. According to the Alaska Division of Elections, 227 out of 542 registered voters in
Hooper Bay voted in the November 2012 Presidential Election, or approximately 43.5 percent of
the registered voters there. That turnout rate is 16.1 percent below the statewide turnout rate for
that election. House District 38 Results.

47. According to the 2011 Coverage Data Files, there are 625 U.S. citizens of voting-
age who reside in the village of Hooper Bay. Applying that data, 36.3 percent of all U.S. citizens
of voting-age residing in Hooper Bay (227 out of 625) voted in the November 2012 Presidential
Election, which is 27.6 percent lower than the statewide turnout rate among non-Hispanic white
U.S. citizens of voting-age in that election. House District 38 Results.

According to the Alaska Division of Elections, 124 out of 261 registered voters in
Manokotak voted in the November 2012 Presidential Election, or approximately 47.5 percent of the
registered voters there. That turnout rate is 12.1 percent below the statewide turnout rate for that
election. STATE OF ALASKA, DIVISION OF ELECTIONS, NOVEMBER 6, 2012 OFFICIAL GENERAL
ELECTION RESULTS, HOUSE DisTRICT 36 (House District 36 Results), available at
http://www.elections.alaska. gow/results/12GENR/data/sove/hd36.pdf.

49. According to the 2011 Coverage Data Files, there are 280 U.S. citizens of voting-

age who reside in the village of Manokotak. Applying that data, 44.3 percent of all U.S. citizens of
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voting-age residing in Manokotak (124 out of 280) voted in the November 2012 Presidential
Election, which is 19.6 percent lower than the statewide turnout rate among non-Hispanic white
US. citizens of voting-age in that election. House District 36 Results.

50. According to the Alaska Division of Elections, 192 out of 530 registered voters in
Togiak voted in the November 2012 Presidential Election, or approximately 36.2 percent of the
registered voters there. That turnout rate is 23.4 percent below the statewide turnout rate for that
election. STATE OF ALASKA, DIVISION OF ELECTIONS, NOVEMBER 6, 2012 OFFICIAL GENERAL
ELECTION RESULTS, HOUSE DiIsTRICT 37 (House District 37 Results), available at
http://www.elections.alaska.gov/results/12GENR/data/sove/hd37.pdf.

$1 According to the 2011 Coverage Data Files, there are 455 U.S. citizens of voting-
age who reside in the village of Togiak. Applying that data, 42.2 percent of all U.S. citizens of
voting-age residing in Togiak (192 out of 455) voted in the November 2012 Presidential Election,
which is 21.7 percent lower than the statewide turnout rate among non-Hispanic white U.S. citizens

of voting-age in that election. House District 37 Results.

FIRST CAUSE OF ACTION
(Violation of Section 203 of the VRA)

52. Plaintiffs restate and incorporate herein the allegations in Paragraphs 1 through 51
of this Complaint.
53. Defendants’ failure to provide LEP Yup’ik-Speaking Voters and those speaking the

Cup’ik dialect with language election assistance and information, as described above, constitutes a
violation of Section 203 of the VRA.

54. Unless enjoined and monitored by this Court, Defendants will continue to violate
Section 203 of the VRA by failing to provide the LEP Yup’ik-Speaking Voters and those speaking

the Cup’ik dialect in the Dillingham and Wade Hampton Census Areas of Alaska with the language
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election information and assistance necessary for their effective participation in the electoral
process.

ND E

(Violation of the Fourteenth and Fifteenth Amendments to the U.S. Constitution)
55. Plaintiffs restate and incorporate herein the allegations in Paragraphs 1 through 54
of this Complaint.
56. Defendants’ violations, as stated above, constitute a qualification, prerequisite,
standard, or procedure which has had the purpose and has had the effect of denying or abridging
the right to vote on account of race or color, or in contravention of the voting guarantees set forth

in 42 U.S.C. § 1973b(f)(2).

57. Defendants’ violations, as stated above, have not been few in number and have not

been promptly and effectively corrected by State action.

58. The continuing effect of Defendants’ violations, as stated above, has not been
eliminated.

59. There is a reasonable probability of the recurrence of Defendants’ violations in the
future.

60. Defendants’ violations, as stated above, violate the voting guarantees of the

Fourteenth and Fifteenth Amendments to the United States Constitution.

61. Unless enjoined and monitored by this Court, Defendants will continue to violate
the voting guarantees of the Fourteenth and Fifteenth Amendments to the United States
Constitution in the Dillingham and Wade Hampton Census Areas of Alaska.

YER LIEF
WHEREFORE, Plaintiffs pray that this Court enter judgment against Defendants which:

(1) Declares that Defendants have failed to provide in an effective manner Yup’ik and
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Cup’ ik language election information and assistance necessary for the political participation of LEP
Yup’ik-Speaking Voters and those speaking the Cup’ik dialect, in violation of Section 203 of the
VRA, 42 U.S.C. § 1973aa-1a;

(2) Authorizes the appointment of Federal examiners by the United States Civil
Service Commission in accordance with section 6 of the VRA to serve for such period of time as
the Court shall determine is appropriate to enforce the guarantees of the Fifteenth Amendment to
the United States Constitution, as provided by Section 3(a) of the VRA, 42 U.S.C. § 1973a(a);

(3) Retains jurisdiction for such period as the Court may deem appropriate and during
such period no voting qualification or prerequisite to voting or standard, practice, or procedure with
respect to voting different from that in force or effect at the time the proceeding was commenced
shall be enforced unless and until the Court finds that such qualification, prerequisite, standard,
practice, or procedure does not have the purpose and will not have the effect of denying or
abridging the right to vote on account of race or color, or in contravention of the voting guarantees
set forth in Section 1973b(f)(2) or the Defendants obtain preclearance of that voting change from
the Attorney General of the United States, as provided by Section 3(c) of the VRA, 42 U.S.C. §
1973a(c);

(4) Enjoins the Defendants, their employees, agents, and successors in office, and all
persons acting in concert with them, from failing to provide in an effective manner Yup’ik and the
Cup’ ik dialect language election information and assistance to LEP voters as required by Section 203
of the VRA, 42 U.S.C. § 1973aa-1a;

(5) Requires Defendants to develop and implement a remedial plan to ensure that LEP
Yup’ik-Speaking Voters and those speaking the Cup’ik dialect are able to understand, learn of, and

participate in all phases of the electoral process as required by Section 203 of the VRA, 42 U.S.C. §

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1973aa-la; and

(6) Plaintiffs further pray that this Court order such additional relief as the interests of

justice may require, together with the attorneys’ fees, costs (including expert witness fees), and other

disbursements incurred in maintaining this action in accordance with the provisions of the Voting

Rights Act.

DATED this 19" day of July, 2013.

Respectfully submitted,
s/nlandreth
s/edougherty

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